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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Sharon F.
                                 Plaintiff,
v.                                                     Case No.: 1:21−cv−02756
                                                       Honorable Gary Feinerman
Cynthia Martin, et al.
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, November 19, 2021:


        MINUTE entry before the Honorable Gary Feinerman:Motion to dismiss [40] is
entered and continued. Because this motion to dismiss overlaps substantially with Lake
Forest Defendants' fully briefed motion to dismiss [21], a truncated briefing schedule is in
order. Plaintiff shall respond to Defendant Martin's motion to dismiss by 12/3/2021;
Defendant Martin shall reply by 12/13/2021. The status hearing set for 11/30/2021 [39] is
stricken and re−set for 12/17/2021 at 10:30 a.m. Attorneys/Parties should appear for the
12/17/2021 hearing by calling the Toll−Free Number: (877) 336−1828, Access Code:
4082461. Members of the public and media will be able to call in to listen to this hearing
(use toll free number). Please, please be sure to keep your phone on mute when you are
not speaking. Persons granted remote access to proceedings are reminded of the general
prohibition against photographing, recording, and rebroadcasting of court proceedings.
Violation of these prohibitions may result in sanctions, including removal of court issued
media credentials, restricted entry to future hearings, denial of entry to future hearings, or
any other sanctions deemed necessary by the Court.Mailed notice.(jlj, )




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